Case 2:24-cr-20134-MAG-KGA ECF No. 1, PagelD.1 Filed 03/13/24 Page 1 of 4 Cf

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case: 2:24-—cr-20134
UNITED STATES OF AMERICA Assigned To : Borman, Paul D.
? Referral Judge: Altman, Kimberly G.
Assign. Date : 3/13/2024
Description: IND USA V. DAVID BLUER (DJ)

Plaintiff,
Vv. VIOLATIONS: 18 U.S.C. § 247(c)
18 U.S.C. § 245(b)(2)(B)
DAVID BLUER,
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 247(c)
Damage to Religious Property

On or about October 24, 2021, in the Eastern District of Michigan, the
defendant, DAVID BLUER, aided and abetted by others known to the Grand Jury,
intentionally defaced and damaged, and attempted to deface and damage, religious
real property because of the race and color of individuals associated with that
religious property. Specifically, the defendant, aided and abetted by others, spray-

painted swastikas, the word “die,” and other graffiti on the exterior of a church, the

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identity of which is known to the Grand Jury, in Roseville, Michigan; the church
has a Black pastor and serves a predominantly Black congregation.
All in violation of Title 18, United States Code, Sections 247(c) and 2.
COUNT TWO

18 U.S.C. § 245(b)(2)(B)
Federally Protected Activities

On or about October 24, 2021, in the Eastern District of Michigan, the
defendant, DAVID BLUER, aided and abetted by others known to the Grand Jury,
did, by threat of force, willfully intimidate and interfere with, and attempt to
intimidate and interfere with, Black users of Trombly Park, in Warren, Michigan,
because of their race and color, and because they were and had been enjoying a
facility provided and administered by a state and subdivision thereof. Specifically,
the defendant, aided and abetted by others, spray-painted swastikas, a racist slur and
symbols, and other graffiti on the bathroom in Trombly Park, including the statement

“DaviD KiLLS Ni**ERS,” the complete spelling of which is known to the Grand

Jury.

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All in violation of Title 18, United States Code, Section 245(b)(2)(B) and 2.

A TRUE BILL.

s/ Grand Jury Foreperson
GRAND JURY FOREPERSON

DAWN N. ISON
United States Attorney

s/ John K. Neal

JOHN K. NEAL

Chief, Public Corruption and Civil Rights Unit
Assistant U.S. Attorney

s/ Frances Lee Carlson

FRANCES LEE CARLSON
Assistant U.S. Attorney

s/ Erin Monju

ERIN MONJU

Trial Attorney

Civil Rights Division

Dated: March 13, 2024

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United States District Court Criminal Case Cove -9-94—pr—
Eastern District of Michigan Resigned To Bee Paul D
: Borman, Paul D.

Referral Judge: Altman, Kimberly G.
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to comple Assign Date : 3/1 3/2024

Description: IND USA V. DAVID BLUER (DJ)

| Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
Ll ves No AUSA’s Initials: PLC

Case Title: USA v. David Bluer

County where offense occurred : Macomb County

Check One: LlFelony [X]Misdemeanor L]Petty
¥_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57,10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.
March 13, 2024 PIU
Date Frances Lee Carlson
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226-3277

Phone: (313) 226-9696

Fax:
E-Mail address: Frances.Carlson@usdoj.gov

Attorney Bar #: P62624

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.

5/16
